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     Co-Counsel for the Debtors and Debtors in Possession

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK

                                                                          )
     In re:                                                               )    Chapter 11
                                                                          )
     BARNEYS NEW YORK, INC., et al.,1                                     )    Case No. 19-36300 (CGM)
                                                                          )
                                        Debtors.                          )    (Jointly Administered)
                                                                          )

           NOTICE OF CANCELLATION OF OCTOBER 23, 2019 HEARING
      AND ADJOURNMENT OF FINAL HEARING ON CREDITOR MATRIX MOTION
         TO OCTOBER 31, 2019, AT 10:30 A.M. (PREVAILING EASTERN TIME)

              PLEASE TAKE NOTICE that upon the joint request of the Debtors and the United States

 Trustee for the Southern District of New York and upon the approval of the joint request by the

 Honorable Cecelia G. Morris, the final hearing (the “Hearing”) on the Debtors’ Motion Seeking

 Entry of an Order (I) Authorizing the Debtors to File a Consolidated List of Creditors in Lieu of



 1     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
       number, include: Barneys New York, Inc. (1818); Barney’s Inc. (2980); BNY Catering, Inc. (4434); BNY
       Licensing Corp. (4177); and Barneys Asia Co. LLC (0819). The location of the Debtors’ service address is 575
       Fifth Avenue, New York, New York 10017.

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 Submitting a Separate Mailing Matrix for Each Debtor, (II) Authorizing the Debtors to File a

 Consolidated List of the Debtors’ Thirty Largest Unsecured Creditors, (III) Authorizing the

 Debtors to Redact Certain Personally Identifiable Information for the Debtors’ Employees,

 (IV) Approving the Form and Manner of Notifying Creditors of Commencement, and (V) Granting

 Related Relief [Docket No. 4] (The “Motion”), previously scheduled to be heard on October 23,

 2019 at 10:30 a.m. (prevailing Eastern Time) has been adjourned and shall now be heard on

 October 31, 2019 at 10:30 a.m. (prevailing Eastern Time) before the Honorable Cecelia G.

 Morris, Chief United States Bankruptcy Judge of the United States Bankruptcy Court for the

 Southern District of New York (the “Court”), 355 Main Street, Poughkeepsie, New York 12601.

        PLEASE TAKE FURTHER NOTICE that the Hearing may be continued or adjourned

 thereafter from time to time without further notice other than an announcement of the adjourned

 date or dates in open court at the Hearing.

        PLEASE TAKE FURTHER NOTICE that the hearing scheduled to be heard on October

 23, 2019 at 10:30 a.m. (prevailing Eastern Time) before the Honorable Cecelia G. Morris, Chief

 United States Bankruptcy Judge of the United States Bankruptcy Court for the Southern District

 of New York (the “Court”), 355 Main Street, Poughkeepsie, New York 12601, has been cancelled.

        PLEASE TAKE FURTHER NOTICE that a copy of the Motion may be obtained free

 of charge by visiting the website of Stretto at http://case.stretto.com/barneys. You may also obtain

 copies of any pleadings by visiting the Court’s website at http://www.nysb.uscourts.gov in

 accordance with the procedures and fees set forth therein.
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 Dated: October 22, 2019         /s/ Joshua A. Sussberg, P.C.
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